
I concur in the result, but differ slightly from the reasoning of the majority. This case is not about termination of fertilized eggs; it is not about a dispute concerning the egg donor or Micah, for neither is a party; it is not about a surrogate; and it is not about an embryo.15
This is a dispute between a divorcing couple over pre-embryos to which only one party contributed DNA — the husband.
I agree that there is no contract between the parties as to the disposition in the event of a dissolution. I agree that the trial court used an improper test when it considered the `best interests' of the preembryos. And, I agree with the majority when it states: `[Mr. Litowitz] has a constitutional right to dispose of the preembyros as he chooses.' Majority Opinion at 15. However, I disagree with the majority when it discusses fundamental rights in parenting. Although this *Page 947 
case involves Mr. Litowitz' choice to not parent another child with Ms. Litowitz, we need not reach that issue because of his fundamental right to privacy in procreative choice. The right to parent might be at issue in a later case where the embryo was growing in the surrogate or the child had been born. But this case solely involves the control of genetic material. I would decide this case based solely on the genetic connection to the husband and his fundamental right to reproductive autonomy.
The due process and equal protection jurisprudence of the U.S. Supreme Court tells us that an individual's right to privacy in procreative choices is a fundamental right. The Supreme Court first recognized the fundamental right in an individual's freedom of choice in procreation inSkinner v. Oklahoma, 316 U.S. 535, 62 S.Ct. 1110, 86 L.Ed. 1655 (1942), where the Court invalidated a state statute providing for the sterilization of persons convicted two or more times of "felonies involving moral turpitude." In Griswold v. Connecticut, 381 U.S. 479, 85 S.Ct. 1678, 14 L.Ed.2d 510 (1965), the Court invalidated Connecticut statutes under the due process clause because the statutes restricted the right of married persons to use contraceptive devices. Later, the Court recognized that the decision "whether to bear or beget a child" was so fundamental that it invalidated such a statute as applied to non-married persons. Eisenstadt v. Baird, 405 U.S. 438, 453-54, 92 S.Ct. 1029, 31 L.Ed.2d 349 (1972).
In Roe v. Wade, 410 U.S. 113, 93 S.Ct. 705, 35 L.Ed.2d 147 (1973), the Supreme Court held that the constitutional right of privacy was broad enough to encompass a woman's decision whether or not to terminate her pregnancy. The Court specifically articulated that an individual's right to control their reproductive function was a "fundamental" right. Roe,410 U.S. 113 at 155. And, the Supreme Court also held unconstitutional a statute that required the consent of a spouse to an abortion. PlannedParenthood v. Danforth, 428 U.S. 52, 96 S.Ct. 2831, 49 L.Ed.2d 788 (1976). These decisions, taken together, tell us that whether an *Page 948 
individual's body shall be the source of another life is a decision left solely to that person and that person alone. See LAURENCE H. TRIBE, AMERICAN CONSTITUTIONAL LAW § 15-10, (2d ed. 1988) at 1340.
Our State Supreme Court has also recognized the fundamental right of an individual's reproductive autonomy. In State v. Koome, 84 Wn.2d 901, 904, 530 P.2d 260 (1975) the Washington Supreme Court recognized that the "constitutional rights of minors, including the right of privacy, are coextensive with those of adults." Therefore, the court held unconstitutional a Washington statute requiring parental consent for a minor to terminate her pregnancy because it abridged a fundamental freedom and was not justified by a compelling state interest. Koome, 84 Wn.2d at 909. And, our State Supreme Court has recognized that the privacy right in the reproductive function is so fundamental that the State has a compelling interest in protecting it even from private invasion. Bering v. SHARE, 106 Wn.2d 212, 230, 721 P.2d 918 (1986),cert. dismissed 479 U.S. 1050 (1987) (permitting an injunction prohibiting picketers' harassing activities in front of an abortion clinic). Thus, our court has recognized this fundamental privacy right to autonomous decision making in "issues related to marriage, procreation, family relationships, [and] child rearing [.]"O'Hartigan v. Department of Personnel, 118 Wn.2d 111, 117, 821 P.2d 44
(1991) (citation omitted).
It would no more make sense to allow Ms. Litowitz to control the use of Mr. Litowitz' DNA in reproduction than it would to allow her to take a sample of his DNA to create a clone. And, if the situation were reversed, we would not permit a husband to take some of his spouse's eggs upon dissolution.
Thus, the novel characteristic about this case, apart from what technology is capable of accomplishing, is that recognizing Mr. Litowitz' right of privacy in procreative choice would specifically protect a man's fundamental right to reproductive autonomy just as past cases have protected a woman's right. *Page 949 
Here, Ms. Litowitz seeks to control the reproductive function of Mr. Litowitz after dissolution. Awarding the preembryos to Ms. Litowitz would give her control over the genetic material of Mr. Litowitz, infringing upon his fundamental right to procreative choice.
The privacy interest in his reproductive function under both the U.S. and Washington constitution compels the result of an award of the pre-embryos to Mr. Litowitz.
Review granted at 143 Wn.2d 1013 (2001).
15 I use "embryo" to describe an implanted and developing preembryo.